      Case 2:14-cr-00083-DJC Document 334 Filed 02/25/19 Page 1 of 46


1

2

3

4                            UNITED STATES DISTRICT COURT

5                           EASTERN DISTRICT OF CALIFORNIA

6

7    UNITED STATES OF AMERICA,              No. 2:14-cr-00083-GEB
8                     Plaintiff,
9            v.                             ORDER TRANSMITTING CLOSING JURY
                                            INSTRUCTIONS, VERDICT FORM, AND
10   RUSLAN KIRILYUK,                       SIMULTANEOUS INSTRUCTIONS TO THE
                                            COURT SECURITY OFFICER AND THE
11                    Defendant.            JURY
12

13                  Attached are the closing jury instructions, the verdict

14   form,    and    the   simultaneous   instructions   to   the   United   States

15   Court Security Officer and the jury.

16

17

18
     Dated:       February 25, 2019
19

20
21

22

23

24

25

26
27

28
      Case 2:14-cr-00083-DJC Document 334 Filed 02/25/19 Page 2 of 46


1                                     INSTRUCTION NO. 1

2                 Members of the jury, now that you have heard all the

3    evidence, it is my duty to instruct you on the law that applies

4    to   this    case.      Each     of    you    now     possesses        a    copy    of    these

5    instructions that you may take with you into the jury room to

6    consult if you desire.

7                 It    is   your    duty    to    weigh        and   to    evaluate      all   the

8    evidence received in the case and, in that process, to decide the

9    facts.      It is also your duty to apply the law as I give it to you

10   to the facts as you find them, whether you agree with the law or

11   not.

12                You must decide the case solely on the evidence and the

13   law.        Do    not   allow    personal          likes    or     dislikes,        sympathy,

14   prejudice, fear, or public opinion to influence you.                               You should

15   also not be influenced by any person’s race, color, religion, or

16   national     ancestry.          You    will       recall    that      you   took     an    oath

17   promising to do so at the beginning of the case.

18                You must follow all these instructions and not single

19   out some and ignore others; they are all important.                                Please do

20   not read into these instructions or into anything I may have said
21   or done any suggestion as to what verdict you should return—that

22   is a matter entirely up to you.

23

24

25

26
27

28
                                                   1
      Case 2:14-cr-00083-DJC Document 334 Filed 02/25/19 Page 3 of 46


1                                INSTRUCTION NO. 2

2               The second superseding indictment is not evidence.          The

3    defendant has pleaded not guilty to the charges.             The defendant

4    is presumed to be innocent unless and until the government proves

5    the defendant guilty beyond a reasonable doubt.          In addition, the

6    defendant does not have to testify or present any evidence.            The

7    defendant does not have to prove innocence; the government has

8    the burden of proving every element of the charges beyond a

9    reasonable doubt.

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                          2
      Case 2:14-cr-00083-DJC Document 334 Filed 02/25/19 Page 4 of 46


1                                INSTRUCTION NO. 3

2               A defendant in a criminal case has a constitutional

3    right not to testify.         In arriving at your verdict, the law

4    prohibits you from considering in any manner that the defendant

5    did not testify.

6

7

8

9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                          3
      Case 2:14-cr-00083-DJC Document 334 Filed 02/25/19 Page 5 of 46


1                                   INSTRUCTION NO. 4

2                  Proof beyond a reasonable doubt is proof that leaves

3    you firmly convinced the defendant is guilty.                  It is not required

4    that the government prove guilt beyond all possible doubt.

5                  A reasonable doubt is a doubt based upon reason and

6    common sense and is not based purely on speculation.                          It may

7    arise   from    a   careful    and   impartial      consideration      of    all   the

8    evidence, or from lack of evidence.

9                  If after a careful and impartial consideration of all

10   the evidence, you are not convinced beyond a reasonable doubt

11   that    the   defendant   is    guilty,       it   is   your   duty   to    find   the

12   defendant not guilty.          On the other hand, if after a careful and

13   impartial consideration of all the evidence, you are convinced

14   beyond a reasonable doubt that the defendant is guilty, it is

15   your duty to find the defendant guilty.

16

17

18

19

20
21

22

23

24

25

26
27

28
                                               4
      Case 2:14-cr-00083-DJC Document 334 Filed 02/25/19 Page 6 of 46


1                                INSTRUCTION NO. 5

2               The evidence you are to consider in deciding what the

3    facts are consists of:

4                  •   the sworn testimony of any witness;

5                  •   the exhibits received in evidence; and

6                  •   any facts to which the parties have agreed.

7

8

9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                          5
      Case 2:14-cr-00083-DJC Document 334 Filed 02/25/19 Page 7 of 46


1                                     INSTRUCTION NO. 6

2                In       reaching   your   verdict      you   may    consider    only   the

3    testimony   and       exhibits     received    in    evidence.       The     following

4    things are not evidence and you may not consider them in deciding

5    what the facts are:

6                     •    Questions, statements, objections, and arguments

7                          by the lawyers are not evidence.              The lawyers are

8                          not   witnesses.        Although     you    must   consider     a

9                          lawyer’s questions to understand the answers of a

10                         witness, the lawyer’s questions are not evidence.

11                         Similarly, what the lawyers have said in their

12                         opening    statements,     closing        arguments,    and    at

13                         other times is intended to help you interpret the

14                         evidence, but it is not evidence.             If the facts as

15                         you remember them differ from the way the lawyers

16                         state them, your memory of them controls.

17                    •    Any testimony that I have excluded, stricken, or

18                         instructed you to disregard is not evidence.                   In

19                         addition, some evidence was received only for a

20                         limited purpose; when I have instructed you to
21                         consider certain evidence in a limited way, you

22                         must do so.

23                    •    Anything you may have seen or heard when the court

24                         was not in session is not evidence.                  You are to

25                         decide the case solely on the evidence received at

26                         the trial.
27

28
                                               6
      Case 2:14-cr-00083-DJC Document 334 Filed 02/25/19 Page 8 of 46


1                                     INSTRUCTION NO. 7

2                Evidence       may    be     direct     or    circumstantial.           Direct

3    evidence    is    direct    proof       of   a   fact,     such   as    testimony    by   a

4    witness about what that witness personally saw or heard or did.

5    Circumstantial      evidence       is    indirect        evidence,     that   is,   it    is

6    proof of one or more facts from which you can find another fact.

7                You    are     to    consider        both    direct   and    circumstantial

8    evidence.    Either can be used to prove any fact.                       The law makes

9    no distinction between the weight to be given to either direct or

10   circumstantial evidence. It is for you to decide how much weight

11   to give to any evidence.

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                                  7
      Case 2:14-cr-00083-DJC Document 334 Filed 02/25/19 Page 9 of 46


1                                  INSTRUCTION NO. 8

2                In deciding the facts in this case, you may have to

3    decide which testimony to believe and which testimony not to

4    believe.     You may believe everything a witness says, or part of

5    it, or none of it.

6                In considering the testimony of any witness, you may

7    take into account:

8                  •   the witness’s opportunity and ability to see or

9                      hear or know the things testified to;

10                 •   the witness’s memory;

11                 •   the witness’s manner while testifying;

12                 •   the witness’s interest in the outcome of the case,

13                     if any;

14                 •   the witness’s bias or prejudice, if any;

15                 •   whether other evidence contradicted the witness’s

16                     testimony;

17                 •   the reasonableness of the witness’s testimony in

18                     light of all the evidence; and

19                 •   any other factors that bear on believability.

20               Sometimes    a   witness   may      say   something     that    is    not
21   consistent    with   something      else   he    or   she   said.      Sometimes

22   different    witnesses       will   give   different        versions       of    what

23   happened.     People often forget things or make mistakes in what

24   they remember.       Also, two people may see the same event but

25   remember it differently.        You may consider these differences, but

26   do not decide that testimony is untrue just because it differs
27   from other testimony.

28               However, if you decide that a witness has deliberately
                                       8
     Case 2:14-cr-00083-DJC Document 334 Filed 02/25/19 Page 10 of 46


1    testified untruthfully about something important, you may choose

2    not to believe anything that witness said.          On the other hand, if

3    you think the witness testified untruthfully about some things

4    but told the truth about others, you may accept the part you

5    think is true and ignore the rest.

6              The   weight   of   the   evidence   as   to   a   fact   does   not

7    necessarily depend on the number of witnesses who testify.                 What

8    is important is how believable the witnesses were, and how much

9    weight you think their testimony deserves.

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                          9
     Case 2:14-cr-00083-DJC Document 334 Filed 02/25/19 Page 11 of 46


1                               INSTRUCTION NO. 9

2              You are here only to determine whether the defendant is

3    guilty or not guilty of the charges in the second superseding

4    indictment.    The defendant is not on trial for any conduct or

5    offense not charged in the second superseding indictment.

6

7

8

9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                         10
     Case 2:14-cr-00083-DJC Document 334 Filed 02/25/19 Page 12 of 46


1                               INSTRUCTION NO. 10

2              A separate crime is charged against the defendant in

3    each count.   You must decide each count separately.         Your verdict

4    on one count should not control your verdict on any other count.

5

6

7

8

9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                         11
     Case 2:14-cr-00083-DJC Document 334 Filed 02/25/19 Page 13 of 46


1                                 INSTRUCTION NO. 11

2              A   person   has    possession   of   something   if   the   person

3    knows of its presence and has physical control of it, or knows of

4    its presence and has the power and intention to control it.

5              More than one person can be in possession of something

6    if each knows of its presence and has the power and intention to

7    control it.

8

9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                         12
     Case 2:14-cr-00083-DJC Document 334 Filed 02/25/19 Page 14 of 46


1                                 INSTRUCTION NO. 12

2                You have heard testimony of a witness who testified in

3    the Russian language.        Witnesses who do not speak English or are

4    more proficient in another language testify through an official

5    interpreter. Although some of you may know the Russian language,

6    it   is   important   that   all   jurors   consider   the   same   evidence.

7    Therefore, you must accept the interpreter’s translation of the

8    witness’s testimony. You must disregard any different meaning.

9                You must not make any assumptions about a witness or a

10   party based solely on the fact that an interpreter was used.

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                           13
     Case 2:14-cr-00083-DJC Document 334 Filed 02/25/19 Page 15 of 46


1                               INSTRUCTION NO. 13

2               The   second    superseding     indictment   charges    that   the

3    offenses   alleged    in    Counts   One     through    Twenty-Eight      were

4    committed “on or about” certain dates.

5               Although it is necessary for the government to prove

6    beyond a reasonable doubt that the offenses were committed on

7    dates reasonably near the dates alleged in Counts One through

8    Twenty-Eight, it is not necessary for the government to prove

9    that the offenses were committed precisely on the dates charged.

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                          14
     Case 2:14-cr-00083-DJC Document 334 Filed 02/25/19 Page 16 of 46


1                                 INSTRUCTION NO. 14

2                 You   have   heard    testimony     that   the   defendant    made    a

3    statement.     It is for you to decide whether the defendant made

4    the statement, and if so, how much weight to give to it.                          In

5    making   those     decisions,     you   should   consider     all   the   evidence

6    about the statement, including the circumstances under which the

7    defendant may have made it.

8

9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                             15
     Case 2:14-cr-00083-DJC Document 334 Filed 02/25/19 Page 17 of 46


1                               INSTRUCTION NO. 15

2               You have heard evidence that Anna Poyras, a witness,

3    was convicted of a felony offense in an unrelated case.            You may

4    consider this evidence in deciding whether or not to believe this

5    witness and how much weight to give to the testimony of this

6    witness.

7

8

9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                         16
     Case 2:14-cr-00083-DJC Document 334 Filed 02/25/19 Page 18 of 46


1                               INSTRUCTION NO. 16

2                You have heard testimony from Anna Poyras, a witness

3    who received benefits from the government in connection with this

4    case.   You have also heard testimony from Rouslan Akhmerov, a

5    witness who pleaded guilty to a crime arising out of the same

6    events for which the defendant is on trial.           This guilty plea is

7    not evidence against the defendant, and you may consider it only

8    in determining this witness’s believability.

9                For these reasons, in evaluating the testimony of Anna

10   Poyras and Rouslan Akhmerov, you should consider the extent to

11   which or whether her and his testimony may have been influenced

12   by any of these factors.         In addition, you should examine the

13   testimony   of   Anna   Poyras   and     Rouslan   Akhmerov   with   greater

14   caution than that of other witnesses.

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                         17
     Case 2:14-cr-00083-DJC Document 334 Filed 02/25/19 Page 19 of 46


1                               INSTRUCTION NO. 17

2              You   have   heard   testimony   from   an   informant   who   was

3    involved in the government’s investigation in this case.                 Law

4    enforcement officials may engage in stealth and deception, such

5    as the use of informants, to investigate criminal activities.

6    Informants may use false names and appearances and assume the

7    roles of members in criminal organizations.

8

9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                         18
     Case 2:14-cr-00083-DJC Document 334 Filed 02/25/19 Page 20 of 46


1                                  INSTRUCTION NO. 18

2                   You have heard testimony from Stephanie Stewart who

3    testified to opinions and the reasons for her opinions.                       This

4    opinion    testimony     is   allowed        because   of   the   education     or

5    experience of this witness.

6                   Such opinion testimony should be judged like any other

7    testimony. You may accept it or reject it, and give it as much

8    weight    as    you   think   it   deserves,     considering      the   witness’s

9    education and experience, the reasons given for the opinion, and

10   all the other evidence in the case.

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                             19
     Case 2:14-cr-00083-DJC Document 334 Filed 02/25/19 Page 21 of 46


1                               INSTRUCTION NO. 19

2              During the trial, certain charts and summaries were

3    shown to you in order to help explain the evidence in the case.

4    These charts and summaries were not admitted in evidence and will

5    not go into the jury room with you.            They are not themselves

6    evidence or proof of any facts.       If they do not correctly reflect

7    the facts or figures shown by the evidence in the case, you

8    should disregard these charts and summaries and determine the

9    facts from the underlying evidence.

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                         20
     Case 2:14-cr-00083-DJC Document 334 Filed 02/25/19 Page 22 of 46


1                               INSTRUCTION NO. 20

2                Certain   charts   and   summaries   have   been    admitted   in

3    evidence.      Charts   and    summaries   are   only   as     good   as   the

4    underlying supporting material.       You should, therefore, give them

5    only such weight as you think the underlying material deserves.

6

7

8

9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                          21
     Case 2:14-cr-00083-DJC Document 334 Filed 02/25/19 Page 23 of 46


1                               INSTRUCTION NO. 21

2              An act is done knowingly if the defendant is aware of

3    the act and does not act through ignorance, mistake, or accident.

4    The government is not required to prove that the defendant knew

5    that his acts or omissions were unlawful.              You may consider

6    evidence of the defendant’s words, acts, or omissions, along with

7    all the other evidence, in deciding whether the defendant acted

8    knowingly.

9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                         22
     Case 2:14-cr-00083-DJC Document 334 Filed 02/25/19 Page 24 of 46


1                               INSTRUCTION NO. 22

2              An intent to defraud is an intent to deceive or cheat.

3

4

5

6

7

8

9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                         23
     Case 2:14-cr-00083-DJC Document 334 Filed 02/25/19 Page 25 of 46


1                                  INSTRUCTION NO. 23

2                The defendant is charged in Counts One through Twenty-

3    Four of the second superseding indictment with wire fraud in

4    violation of Section 1343 of Title 18 of the United States Code.

5    In order for the defendant to be found guilty of that charge, the

6    government must prove each of the following elements beyond a

7    reasonable doubt:

8                First, the defendant knowingly participated in a scheme

9    or plan to defraud, or a scheme or plan for obtaining money or

10   property     by    means      of     false     or   fraudulent          pretenses,

11   representations, or promises;

12               Second, the statements made as part of the scheme were

13   material; that is, they had a natural tendency to influence, or

14   were capable of influencing, a person to part with                       money or

15   property;

16               Third, the defendant acted with the intent to defraud,

17   that is, the intent to deceive or cheat; and

18               Fourth, the defendant used, or caused to be used, an

19   interstate wire communication to carry out or attempt to carry

20   out an essential part of the scheme.
21               In determining whether a scheme to defraud exists, you

22   may consider not only the defendant’s words and statements, but

23   also the circumstances in which they are used as a whole.

24               A wiring is caused when one knows that a wire will be

25   used   in   the    ordinary      course   of   business     or   when    one   can

26   reasonably foresee such use.
27               It need not have been reasonably foreseeable to the

28   defendant   that    the   wire     communication    would   be   interstate     in
                                             24
     Case 2:14-cr-00083-DJC Document 334 Filed 02/25/19 Page 26 of 46


1    nature.   Rather, it must have been reasonably foreseeable to the

2    defendant that some wire communication would occur in furtherance

3    of the scheme, and an interstate wire communication must have

4    actually occurred in furtherance of the scheme.

5

6

7

8

9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                         25
     Case 2:14-cr-00083-DJC Document 334 Filed 02/25/19 Page 27 of 46


1                                     INSTRUCTION NO. 24

2                 The    defendant     is   charged      in   Counts    Twenty-Five      and

3    Twenty-Six of the second superseding indictment with mail fraud

4    in violation of Section 1341 of Title 18 of the United States

5    Code.       In order for the defendant to be found guilty of that

6    charge, the government must prove each of the following elements

7    beyond a reasonable doubt:

8                 First, the defendant knowingly participated in a scheme

9    or plan to defraud, or a scheme or plan for obtaining money or

10   property      by         means   of    false        or   fraudulent       pretenses,

11   representations, or promises;

12                Second, the statements made as part of the scheme were

13   material; that is, they had a natural tendency to influence, or

14   were capable of influencing, a person to part with money or

15   property;

16                Third, the defendant acted with the intent to defraud;

17   that is, the intent to deceive or cheat; and

18                Fourth, the defendant used, or caused to be used, the

19   mails to carry out or attempt to carry out an essential part of

20   the scheme.
21                In determining whether a scheme to defraud exists, you

22   may consider not only the defendant’s words and statements, but

23   also the circumstances in which they are used as a whole.

24                A mailing is caused when one knows that the mails will

25   be   used    in    the    ordinary    course   of    business     or   when   one   can

26   reasonably foresee such use.               It does not matter whether the
27   material mailed was itself false or deceptive so long as the mail

28   was used as a part of the scheme, nor does it matter whether the
                                    26
     Case 2:14-cr-00083-DJC Document 334 Filed 02/25/19 Page 28 of 46


1    scheme or plan was successful or that any money or property was

2    obtained.

3

4

5

6

7

8

9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                         27
     Case 2:14-cr-00083-DJC Document 334 Filed 02/25/19 Page 29 of 46


1                                   INSTRUCTION NO. 25

2                  If you decide that the defendant was a member of a

3    scheme   to    defraud   and    that   the   defendant   had   the   intent   to

4    defraud, the defendant may be responsible for other co-schemers’

5    actions during the course of and in furtherance of the scheme,

6    even if the defendant did not know what they said or did.

7                  For the defendant to be guilty of an offense committed

8    by a co-schemer in furtherance of the scheme, the offense must be

9    one that the defendant could reasonably foresee as a necessary

10   and natural consequence of the scheme to defraud.

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                            28
     Case 2:14-cr-00083-DJC Document 334 Filed 02/25/19 Page 30 of 46


1                                INSTRUCTION NO. 26

2              The defendant is charged in Count Twenty-Seven of the

3    second superseding indictment with aggravated identity theft in

4    violation of Section 1028A of Title 18 of the United States Code.

5    In order for the defendant to be found guilty of that charge, the

6    government must prove each of the following elements beyond a

7    reasonable doubt:

8              First, the defendant knowingly transferred, possessed,

9    or used without legal authority a means of identification of

10   another person, Lindsay Dearman;

11             Second,     the    defendant    knew    that    the      means   of

12   identification belonged to a real person; and

13             Third, the defendant did so during and in relation to

14   wire fraud.

15             The Government need not establish that the means of

16   identification of another person was stolen.

17

18

19

20
21

22

23

24

25

26
27

28
                                         29
     Case 2:14-cr-00083-DJC Document 334 Filed 02/25/19 Page 31 of 46


1                               INSTRUCTION NO. 27

2                The defendant is charged in Count Twenty-Eight of the

3    second superseding indictment with failure to appear in violation

4    of Section 3146(a)(1) of Title 18 of the United States Code.       In

5    order for the defendant to be found guilty of that charge, the

6    government must prove each of the following elements beyond a

7    reasonable doubt:

8                First, the defendant was released from custody under

9    the Bail Reform Act;

10               Second, the defendant was required to appear in court

11   or before a judicial officer on February 7, 2017;

12               Third, the defendant knew of this required appearance;

13   and

14               Fourth, the defendant intentionally failed to appear as

15   required.

16

17

18

19

20
21

22

23

24

25

26
27

28
                                         30
     Case 2:14-cr-00083-DJC Document 334 Filed 02/25/19 Page 32 of 46


1                                    INSTRUCTION NO. 28

2                 When you begin your deliberations, elect one member of

3    the   jury    as     your      foreperson    who   will     preside    over     the

4    deliberations and speak for you here in court.

5                 You will then discuss the case with your fellow jurors

6    to reach agreement if you can do so.                     Your verdict, whether

7    guilty or not guilty, must be unanimous.

8                 Each of you must decide the case for yourself, but you

9    should do so only after you have considered all the evidence,

10   discussed it fully with the other jurors, and listened to the

11   views of your fellow jurors.

12                Do    not    be   afraid   to   change      your   opinion   if    the

13   discussion persuades you that you should.                 But do not come to a

14   decision simply because other jurors think it is right.

15                It is important that you attempt to reach a unanimous

16   verdict but, of course, only if each of you can do so after

17   having made your own conscientious decision.                    Do not change an

18   honest belief about the weight and effect of the evidence simply

19   to reach a verdict.

20                Perform these duties fairly and impartially.                 Do not
21   allow personal likes or dislikes, sympathy, prejudice, fear, or

22   public   opinion     to     influence   you.       You    should   also   not    be

23   influenced by any person’s race, color, religion, or national

24   ancestry.

25                It is your duty as jurors to consult with one another

26   and to deliberate with one another with a view towards reaching
27   an agreement if you can do so.               During your deliberations, you

28   should not hesitate to reexamine your own views and change your
                                    31
     Case 2:14-cr-00083-DJC Document 334 Filed 02/25/19 Page 33 of 46


1    opinion if you become persuaded that it is wrong.

2

3

4

5

6

7

8

9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                         32
     Case 2:14-cr-00083-DJC Document 334 Filed 02/25/19 Page 34 of 46


1                                INSTRUCTION NO. 29

2                  Some of you have taken notes during the trial.              Whether

3    or not you took notes, you should rely on your own memory of what

4    was said. Notes are only to assist your memory.                You should not

5    be   overly    influenced   by   your    notes   or   those   of   your   fellow

6    jurors.

7

8

9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                             33
     Case 2:14-cr-00083-DJC Document 334 Filed 02/25/19 Page 35 of 46


1                               INSTRUCTION NO. 30

2              The punishment provided by law for this crime is for

3    the court to decide.     You may not consider punishment in deciding

4    whether the government has proved its case against the defendant

5    beyond a reasonable doubt.

6

7

8

9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                         34
     Case 2:14-cr-00083-DJC Document 334 Filed 02/25/19 Page 36 of 46


1                                INSTRUCTION NO. 31

2              A verdict form has been prepared for you.                After you

3    have reached unanimous agreement on a verdict, your presiding

4    juror   should   complete    the   verdict    form   according      to   your

5    deliberations, sign and date it, and advise the Court Security

6    Officer that you are ready to return to the courtroom.

7

8

9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                         35
     Case 2:14-cr-00083-DJC Document 334 Filed 02/25/19 Page 37 of 46


1                                INSTRUCTION NO. 32

2               If it becomes necessary during your deliberations to

3    communicate    with   me,   you   may    send      a   note    through    the   Court

4    Security Officer, signed by any one or more of you.                    No member of

5    the jury should ever attempt to communicate with me except by a

6    signed writing, and I will respond to the jury concerning the

7    case only in writing or here in open court.                    If you send out a

8    question, I will consult with the lawyers before answering it,

9    which may take some time.            You may continue your deliberations

10   while waiting for the answer to any question.                        You are not to

11   tell   anyone—including     me—how      the   jury      stands,      numerically   or

12   otherwise,     on   any   question    submitted         to    you,    including    the

13   question of the guilt of the defendant, until after you have

14   reached    a    unanimous     verdict         or       have    been      discharged.

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                             36
     Case 2:14-cr-00083-DJC Document 334 Filed 02/25/19 Page 38 of 46


1

2

3

4                         UNITED STATES DISTRICT COURT

5                       EASTERN DISTRICT OF CALIFORNIA

6

7    UNITED STATES OF AMERICA,            No. 2:14-cr-00083-GEB
8                 Plaintiff,
9        v.                               VERDICT FORM
10   RUSLAN KIRILYUK,
11                Defendant.
12

13

14             We, the jury, unanimously find the defendant, Ruslan

15   Kirilyuk, as follows:

16

17   AS TO COUNT 1 OF THE SECOND SUPERSEDING INDICTMENT:

18   GUILTY       NOT GUILTY
                                  Wire fraud, in violation of Title 18,
19                                United States Code Section 1343.
20   __________   __________

21

22   AS TO COUNT 2 OF THE SECOND SUPERSEDING INDICTMENT:
23   GUILTY       NOT GUILTY
24                                Wire fraud, in violation of Title 18,
                                  United States Code Section 1343.
25   __________   __________
26
27

28
                                         1
     Case 2:14-cr-00083-DJC Document 334 Filed 02/25/19 Page 39 of 46


1    AS TO COUNT 3 OF THE SECOND SUPERSEDING INDICTMENT:

2    GUILTY       NOT GUILTY
                                  Wire fraud, in violation of Title 18,
3                                 United States Code Section 1343.
4    __________   __________

5

6    AS TO COUNT 4 OF THE SECOND SUPERSEDING INDICTMENT:
7    GUILTY       NOT GUILTY
8                                 Wire fraud, in violation of Title 18,
                                  United States Code Section 1343.
9    __________   __________
10

11
     AS TO COUNT 5 OF THE SECOND SUPERSEDING INDICTMENT:
12
     GUILTY       NOT GUILTY
13                                Wire fraud, in violation of Title 18,
                                  United States Code Section 1343.
14
     __________   __________
15

16
     AS TO COUNT 6 OF THE SECOND SUPERSEDING INDICTMENT:
17
     GUILTY       NOT GUILTY
18                                Wire fraud, in violation of Title 18,
                                  United States Code Section 1343.
19
     __________   __________
20
21

22   AS TO COUNT 7 OF THE SECOND SUPERSEDING INDICTMENT:

23   GUILTY       NOT GUILTY
                                  Wire fraud, in violation of Title 18,
24                                United States Code Section 1343.

25   __________   __________

26
27

28
                                         2
     Case 2:14-cr-00083-DJC Document 334 Filed 02/25/19 Page 40 of 46


1    AS TO COUNT 8 OF THE SECOND SUPERSEDING INDICTMENT:

2    GUILTY       NOT GUILTY
                                  Wire fraud, in violation of Title 18,
3                                 United States Code Section 1343.
4    __________   __________

5

6    AS TO COUNT 9 OF THE SECOND SUPERSEDING INDICTMENT:
7    GUILTY       NOT GUILTY
8                                 Wire fraud, in violation of Title 18,
                                  United States Code Section 1343.
9    __________   __________
10

11
     AS TO COUNT 10 OF THE SECOND SUPERSEDING INDICTMENT:
12
     GUILTY       NOT GUILTY
13                                Wire fraud, in violation of Title 18,
                                  United States Code Section 1343.
14
     __________   __________
15

16
     AS TO COUNT 11 OF THE SECOND SUPERSEDING INDICTMENT:
17
     GUILTY       NOT GUILTY
18                                Wire fraud, in violation of Title 18,
                                  United States Code Section 1343.
19
     __________   __________
20
21

22   AS TO COUNT 12 OF THE SECOND SUPERSEDING INDICTMENT:

23   GUILTY       NOT GUILTY
                                  Wire fraud, in violation of Title 18,
24                                United States Code Section 1343.

25   __________   __________

26
27

28
                                         3
     Case 2:14-cr-00083-DJC Document 334 Filed 02/25/19 Page 41 of 46


1    AS TO COUNT 13 OF THE SECOND SUPERSEDING INDICTMENT:

2    GUILTY       NOT GUILTY
                                  Wire fraud, in violation of Title 18,
3                                 United States Code Section 1343.
4    __________   __________

5

6    AS TO COUNT 14 OF THE SECOND SUPERSEDING INDICTMENT:
7    GUILTY       NOT GUILTY
8                                 Wire fraud, in violation of Title 18,
                                  United States Code Section 1343.
9    __________   __________
10

11
     AS TO COUNT 15 OF THE SECOND SUPERSEDING INDICTMENT:
12
     GUILTY       NOT GUILTY
13                                Wire fraud, in violation of Title 18,
                                  United States Code Section 1343.
14
     __________   __________
15

16
     AS TO COUNT 16 OF THE SECOND SUPERSEDING INDICTMENT:
17
     GUILTY       NOT GUILTY
18                                Wire fraud, in violation of Title 18,
                                  United States Code Section 1343.
19
     __________   __________
20
21

22   AS TO COUNT 17 OF THE SECOND SUPERSEDING INDICTMENT:

23   GUILTY       NOT GUILTY
                                  Wire fraud, in violation of Title 18,
24                                United States Code Section 1343.

25   __________   __________

26
27

28
                                         4
     Case 2:14-cr-00083-DJC Document 334 Filed 02/25/19 Page 42 of 46


1    AS TO COUNT 18 OF THE SECOND SUPERSEDING INDICTMENT:

2    GUILTY       NOT GUILTY
                                  Wire fraud, in violation of Title 18,
3                                 United States Code Section 1343.
4    __________   __________

5

6    AS TO COUNT 19 OF THE SECOND SUPERSEDING INDICTMENT:
7    GUILTY       NOT GUILTY
8                                 Wire fraud, in violation of Title 18,
                                  United States Code Section 1343.
9    __________   __________
10

11
     AS TO COUNT 20 OF THE SECOND SUPERSEDING INDICTMENT:
12
     GUILTY       NOT GUILTY
13                                Wire fraud, in violation of Title 18,
                                  United States Code Section 1343.
14
     __________   __________
15

16
     AS TO COUNT 21 OF THE SECOND SUPERSEDING INDICTMENT:
17
     GUILTY       NOT GUILTY
18                                Wire fraud, in violation of Title 18,
                                  United States Code Section 1343.
19
     __________   __________
20
21

22   AS TO COUNT 22 OF THE SECOND SUPERSEDING INDICTMENT:

23   GUILTY       NOT GUILTY
                                  Wire fraud, in violation of Title 18,
24                                United States Code Section 1343.

25   __________   __________

26
27

28
                                         5
     Case 2:14-cr-00083-DJC Document 334 Filed 02/25/19 Page 43 of 46


1    AS TO COUNT 23 OF THE SECOND SUPERSEDING INDICTMENT:

2    GUILTY       NOT GUILTY
                                  Wire fraud, in violation of Title 18,
3                                 United States Code Section 1343.
4    __________   __________

5

6    AS TO COUNT 24 OF THE SECOND SUPERSEDING INDICTMENT:
7    GUILTY       NOT GUILTY
8                                 Wire fraud, in violation of Title 18,
                                  United States Code Section 1343.
9    __________   __________
10

11
     AS TO COUNT 25 OF THE SECOND SUPERSEDING INDICTMENT:
12
     GUILTY       NOT GUILTY
13                                Mail fraud, in violation of Title 18,
                                  United States Code Section 1341.
14
     __________   __________
15

16
     AS TO COUNT 26 OF THE SECOND SUPERSEDING INDICTMENT:
17
     GUILTY       NOT GUILTY
18                                Mail fraud, in violation of Title 18,
                                  United States Code Section 1341.
19
     __________   __________
20
21

22   AS TO COUNT 27 OF THE SECOND SUPERSEDING INDICTMENT:

23   GUILTY       NOT GUILTY
                                  Aggravated    identity    theft,  in
24                                violation of Title 18, United States
                                  Code Section 1028A(a)(1).
25   __________   __________

26
27

28
                                         6
     Case 2:14-cr-00083-DJC Document 334 Filed 02/25/19 Page 44 of 46


1    AS TO COUNT 28 OF THE SECOND SUPERSEDING INDICTMENT:

2    GUILTY       NOT GUILTY
                                   Failure to appear, in violation of
3                                  Title 18, United States Code Section
                                   3146(a)(1).
4    __________   __________

5

6

7

8

9

10   DATED                                   FOREPERSON
11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                         7
     Case 2:14-cr-00083-DJC Document 334 Filed 02/25/19 Page 45 of 46


1                             SIMULTANEOUS INSTRUCTIONS TO

2                      THE COURT SECURITY OFFICER AND THE JURY

3                  The Courtroom Deputy Clerk shall administer the oath to

4    the United States Court Security Officer.

5                  I will now communicate with the jury and the Court

6    Security Officer simultaneously.                Sir/Madam, the jury may adjourn

7    deliberation as desired, without consulting with me; temporary

8    adjournment from jury deliberation shall be under your general

9    supervision.          If the jury adjourns for lunch, a Court Security

10   Officer shall immediately inform the Courtroom Deputy Clerk about

11   the lunch adjournment so that my staff, the lawyers, the parties,

12   and    I   can   be    relieved    from       standby   status   during    the    lunch

13   adjournment. Jurors shall stay in the jury room until all jurors

14   are ready to leave for a jury adjournment.

15                 Jury deliberations shall occur, as needed, until 4:30

16   p.m. or later if that is your desire, until the jury adjourns for

17   the evening; and the jury shall resume deliberations the next day

18   commencing at 9:00 a.m.              Should the jury adjourn later today,

19   jurors are permitted tomorrow to proceed directly to the jury

20   deliberation room, but jurors shall wait until all jurors are
21   present before resuming deliberations because all jurors must be

22   present when the jury deliberates.

23                 A Court Security Officer will maintain a post outside

24   the    jury   deliberation        room    to    protect   the    jury   from   outside

25   influences.      The Court Security Officer will not communicate with

26   a     juror   about     the   case       or    the   court   system     because   such
27   conversations could be misconstrued as a communication that seeks

28   to influence a juror.             What I just said does not apply to any
                                              1
     Case 2:14-cr-00083-DJC Document 334 Filed 02/25/19 Page 46 of 46


1    note    that    a     juror    or   the   jury   gives   to   the   Court    Security

2    Officer, because the juror and/or the jury is required to tell

3    the Court Security Officer that the jury has a note for the

4    Judge.    The Court Security Officer shall take possession of the

5    note, and then immediately call the Courtroom Deputy Clerk so

6    that she can obtain the note from the Court Security Officer and

7    give it to me.

8                   Each    juror    may   continue    possessing    his   or    her   cell

9    phone or other communication device, but that device shall be

10   turned off when the jury is engaged in deliberation.                        The Court

11   Security Officer shall escort the jurors to the jury deliberation

12   room.

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                                 2
